Case 2:24-cv-00757-JRG     Document 35-7 Filed 11/25/24    Page 1 of 1 PageID #:
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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          MARSHALL DIVISION


AVANT LOCATION TECHNOLOGIES
LLC,
                   Plaintiff,                  Civil Action No. 2:24-CV-0757-JRG
                                               (LEAD CASE)
     v.
                                               JURY TRIAL DEMANDED
APPLE INC.,
                         Defendant.            REDACTED IN ENTIRETY


         DECLARATION OF CATHERINE SPEVAK IN SUPPORT OF
  DEFENDANT APPLE INC.'S MOTION TO DISMISS OR, ALTERNATIVELY, TO
        TRANSFER TO THE NORTHERN DISTRICT OF CALIFORNIA
